CaSe:l?-OOOOS-vad Doc #:22-1 Filed: 03/12/18 Page 1 of 2

Fi|l in this information to identity your case:

Det:tor1 Margery |_ee wakefield Checic ifthls is:
l An amended filing

DEblOr 2 |:| A supplement showing postpetition chapter
(Spouse` ifming) 13 expenses as of the following date:

 

United Stales Bankruptcy Court for the: WESTERN DiSTR|CT OF M|CH|GAN MM i' DD r' YYYY

 

Case number 1?-00003
(|iknown)

 

 

 

Official Form iOB.i
Scheduie J: ‘(our Expenses ms

 

 

Be as complete and accurate as possible if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number {if known}. Answer every question.

Descrihe Your Household
1. is this a joint case?

l No. so to line 2.
i:i Yes. Does Debtor 2 live in a separate household?

i:i No
i:i Yes, Debtor 2 must file Ofticia| Form 106J-2, Expenses for Separete Househoid of Debtor 2,

2. Do you have dependents? l Ng

 

 

 

 

Do not list Debiori and |:] YES_ Fiil out this information for Dependent's relationship to Dspendsnt's Does dependent
ggbtor 2_ each dependent.............. Debtor 1 or Debtor 2 age live with you?
m -_l_ _

Do not state the i:i No
dependents names. |j Yes

i:i No

i:i Yes

i:i No

i:i Yes

i:i No

Ci Yes

3. Do your expenses include l No

expenses of people other than m
yourself and your dependents? Ye$

Estimate Your Ongolng Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is illed. If this is a supplemental Scheduie J, check the box at the top of the form and till in the
applicable date.

include expenses paid for with non-cash government assistance ii you know
the vaiue of such assistance and have included it on Scheduie l: Your income

(Official Form 1061.) Your expenses
m

4_ The rental or home ownership expenses for your residence. include first mortgage
payments and any rent for the ground or |ot. 4- 5 518'00

ii not included in line 4:

 

 

 

 

4a. Real estate taxes 4a. 5 0.00
4b. Property, homeowner*s. or renter’s insurance 4b. 5 0.00
4c_ Home maintenance repairl and upkeep expenses 4c_ 5 0_00
4d. Homeo\.vner‘s association or condominium dues 4d, $ 0.00
5. Additionai mortgage payments for your residence, such as home equity loans 5_ 5 0.00

 

Otflcia| Form 106.] Schedu|e J: Your Expenses page ‘l

CaSe:l?-OOOOS-vad Doc #:22-1 Filed: 03/12/18 Page 2 of 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

‘ 1 Margery Lee Waket`ield ease number titirnowni 17-00003
lti|ities:
a. E|ectricity, heat. natural gas E)`a. 5 100.00
b. Water. sewer. garbage collection 6b, 8 0.00
c. Te|ephone, oeli phone, |nternetl satellitel and cable services 6c 5 100.00
d. Other, Specify: 6d, 5 0_00
ood and housekeeping supplies 71 5 400.00
hiidcare and children's education costs B. 5 0,0{}
lothing, iaundry, and dry cleaning 9. 5 100.00
ersona| care products and services 10. 5 180.00
ledicai and dental expenses 11. 5 200.00
ransportation. include gas. maintenance bus or train tare.
o not include car payments 12- 5 300'00
ntertainment, clubs, recreation, newspapers, magazines, and books 13. 5 100.00
haritable contributions and religious donations 14. 5 0.00
iSUranCEl.
o not include insurance deducted from your pay or included in lines 4 or 20_
Sa. Liie insurance 15a 5 0.00
Sb. Health insurance 15b. 5 126.‘13
ic. Vehicie insurance 15c, $ 0.00
id- 01th insurance Sp€€ifyr vehicle & renters insurance combined 15d. s 212.51
dental insurance $ 31.6'!
ixes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Jecity: 15. 3 0.00
stai|ment or lease payments:
'a. Car payments for Vehicle 1 1?a, 5 0.00
'b. Car payments for VehicieZ 17b. 5 0.00
'c. Other. Speclfy: 17i:l 5 0.00
'd. Other. Speciiy: i?d. 5 0.00
our payments of alimony. maintenance, and support that you did not report as
iducted from your pay on line 5, Scheduie i, ¥our income tOtficlal Form 106|}. 13- 5 o'oo
ther payments you make to support others who do not live with you. S 0.00
:iecify: 19.
:her real property expenses not included in lines 4 or 5 of this form or on Schedule i.' Your income.
la. lliiortgages on other property 20a 5 0.00
Ib. Real estate taxes 20b. 5 0.00
'c. Property. homeowner’s. or renter’s insurance 20a 5 0.00
id. Maintenance, repair. and upkeep expenses 20d. 5 0.00
iei Horneowner's association or condominium dues 20e_ 5 0.00
:her: Specify: vitamins 21' +$ 50-00
iartment cleaning *s ____40-°°
.].and lady +$ 100.00

 

alcuiate your monthly expenses

 

 

 

 

 

 

'.a. Add lines 4 through 21` 5 2,658.31

lb. Copy line 22 (monthly expenses for Debtor 2}. if any, from Otficial Form 106J-2 5

lc. Add line 22a and 22b. The result is your monthly expenses 5 2,653.31

a|cuiate your monthly net income.

la. Copy line 12 {your combined monthly income} from Schedule l. 23a. 5 2,820.85

ib. Copy your monthly expenses from line 22c above. 23b. -$ 2,658.31

ic. Subtract your monthly expenses from your monthly income. 236 s 152.54
The result is your monthiy nat income

 

 

 

file this form?

:i ou ex ect an increase or decrease in your expenses within the year after you l

ir :xamp|ef)do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because ot a
)driication to the terms oi your mortgage?

i No.

 

i Yes. l Expla`in here:

5 it titl\e .i`.`iour Expenses
lm\'ii\\ii§i c s

